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                   Case
          AO 472 (Rev. 12/03)3:18-cr-00757-BRM
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                                                UNITED STATES DISTRICT COURT
                                                                                District of
                 UNITED STATES OF AMERICA
                                       V.                                                      ORDER OF DETENTION PENDING TRIAL
  Steven Bradley Mell                                                                       Case               18-7094
                                   Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                                          Part I-Findings of Fact
  D         (I   The defendant is charged with an offense described in 18 U.S.C. § 3142(t)(l) and has been convicted ofa              D   federal        D   sta
                 D a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                 D an offense for which the maximum sentence is life imprisonment or death.
                 D an offense for which a maximum term of imprisonment of ten years or more is prescribed
                      § 3142(t)(l)(A)-(C), or comparable state or local offenses.
  D         (2  The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
  D         (3  A period of not more than five years has elapsed since the D date of                    D release of the defendant from imprisonment
                for the offense described in finding (I).
   D         (4 Findings Nos.(!), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
                safety of(an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                     Alternative Findings (A)
   D         (I There is probable cause to believe that the defendant has committed an offense
                D for which a maximum term of imprisonment of ten years or more is prescribed - - - - - - - - - - - - - - - - - -
                D under 18 U.S.C. § 924(c).
   D         (2 The defendant has not rebutted the presumption established by finding I that no condition or combination of conditions will reasonably assure
                the appearance of the defendant as required and the safety of the community.
                                                                     Alternative Findings (B)
   D         (I There is a serious risk that the defendant will not appear.
   D         (2 There is a serious risk that the defendant will endanger the safety of another person or the community.




                                                       Part II-Written Statement of Reasons for Detention
          I find that the credible testimony and information submitted at the hearing establishes by            D   clear and convincing evidence   D a prepon-
   derance of the evidence that




                                                                                                                                 request of an attorney for the
                                                                                                                                   r the purpose of an appearance




                                                                                                       Name and Title ofJudge
  *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. §
951 et seq.); or (c) Section I of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
